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 3                            UNITED STATES DISTRICT COURT
 4                          EASTERN DISTRICT OF WASHINGTON
 5
     UNITED STATES OF AMERICA,
 6                                                    No.       2:12-CR-0016-WFN-7
                              Plaintiff,
 7                                                    ORDER DENYING MOTION FOR
 8         -vs-                                       RECONSIDERATION
 9 TYLER SCOTT McKINLEY,
10                            Defendant.
11
12         Pending before the Court is Defendant's Motion for Reconsideration. ECF No. 816.
13   Defendant asks that the Court to reverse its decision regarding Defendant McKinley's strict
14   compliance with Washington State's medical marijuana laws.
15         Motions for reconsideration are disfavored . . . . The court will ordinarily
           deny such motions in the absence of a showing of manifest error in the prior
16         ruling or a showing of new facts or legal authority which could not have
17         been brought to its attention earlier with reasonable diligence.
18   LCrR 12(c)(5). Defendant argues that the conclusion in the Court's prior Order represents
19   manifest error because the Court considered conduct outside the conspiracy to manufacture
20   marijuana when determining Defendant's compliance with state law.                However,
21   Defendant's claim of manifest error rests on half-truths. Defendant omits the fact that he
22   was charged with maintaining a place at 11911 N. Judkins for the purpose of
23   manufacturing marijuana in addition to the conspiracy.           He acknowledged that he
24   suspected that the grow was illegal at some point, but he remained on the lease and power
25   bill. He certainly should have known the grow was illegal when he purchased small
26   amounts of marijuana from a co-Defendant as that violated state law. He appears to argue
27   that his failure to remove himself from the lease was somehow out of his hands so he
28   should not be held responsible for the known illegal grow at the residence he was renting.


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 1   The Ninth Circuit charged this Court with determining each Defendant's compliance with
 2   state law. Since Defendant McKinley provided the location and power for the entire grow,
 3   he must show that the entire grow complied with state law. However, he acknowledges
 4   that it did not. Defendant has not demonstrated manifest error. The Court has reviewed
 5   the file and Defendant's Motion and is fully informed. Accordingly,
 6              IT IS ORDERED that:
 7              1. Defendant's Motion for Reconsideration, filed September 29, 2017, ECF
 8   No. 816, is DENIED.
 9              2. All time from the filing of Defendant's Motion for Reconsideration on
10   September 29, 2017, to the date of this Order, October 11, 2017, is EXCLUDED for
11   speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).
12              3. The October 31, 2017 final pretrial conference and motion hearing is
13   STRICKEN and RESET for November 6, 2017, at 8:30 a.m., in Spokane, Washington.
14              4. The jury trial set for November 6, 2017, at 10:00 a.m., in Spokane,
15   Washington is CONFIRMED.
16              The District Court Executive is directed to file this Order and provide copies to
17   counsel.
18              DATED this 11th day of October, 2017.
19
20                                                 s/ Wm. Fremming Nielsen
21                                                   WM. FREMMING NIELSEN
     10-11-17                                 SENIOR UNITED STATES DISTRICT JUDGE
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